       Case 1:16-cv-01534-JEB        Document 38       Filed 09/09/16     Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 STANDING ROCK SIOUX TRIBE, et al.,

       Plaintiffs,
               v.                                       Civil Action No. 16-1534 (JEB)
 U.S. ARMY CORPS OF ENGINEERS, et
 al.,

     Defendants.


                                          ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. Plaintiff’s Motion for a Preliminary Injunction is DENIED; and

      2. Parties shall appear for the scheduled status conference on September 16, 2016, at

          2:00 PM.

      SO ORDERED.

                                                  /s/ James E. Boasberg
                                                  JAMES E. BOASBERG
                                                  United States District Judge

Date: September 9, 2016




                                              1
